Case: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 1 of 13 PAGEID #: 70

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF OHIO
Pathe. LUT Hf DWISION

Mh dekhek GLBBS

(Enter Above the Name of the Plaintiff in this Action)

 

 

VS.

Mpaichien Cont SPERIZE LETT

(Enter above the name of the Yrfendant in this Action)

If there are additional Defendants, please list them:

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LFF ickh Sf ChE Sepptynl Elz on”
OFFZWER shekize7 Tetgpaea

NMUKSE kz puplb- hd Diet? heed) County Pet

COMPLAINT

I. Parties to the action:

Plaintiff: Place your name and address on the lines below. The address you give must be the address where
the court may contact you and mail documents to you. A telephone number is required,

Nk. -DEKRR LK Gi BBS *925-1AE THY, Bt Tteklt is,

Name - Full Name Please - PRINT

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LiNdid, LATO. WB ffb~- 0000

City, State and Zip Code

(790) S52-AYSY

Teleplione Number

 

If there are additional Plaintiffs in this suit, a separate piece of paper should be attached immediately behind this
page with their full names, addresses and telephone numbers. If there are no other Plaintiffs, continue with this
form.
Il.

Case: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 2 of 13 PAGEID #: 71

Defendant(s):

Place the name and address of each Defendant you listed in the caption on the first page of this Complaint. This
form is invalid unless each Defendant appears with full address for proper service.

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Name - Full Name Please

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Address: Street, City, State and Zip Code

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If there are additional Defendants, please list their names and addresses on a separate sheet of paper.

Subject Matter Jurisdiction
Check the box or boxes that describes your lawsuit:

Rt Title 28 U.S.C. § 1343(3)

[A civil rights lawsuit alleging that Defendant(s) acting under color of State law, deprived you ofa
right secured by federal law or the Constitution. ]

O Title 28 U.S.C. § 1331
[A lawsuit “arising under the Constitution, laws, or treaties of the United States.”]

CO Title 28 U.S.C. § 1332(a)(Q1)
[A lawsuit between citizens of different states where the matter in controversy exceeds $75,000.]

Ol Title United States Code, Section
[Other federal status giving the court subject matter jurisdiction. ]

 
Case: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 3 of 13 PAGEID #: 72

Ill. Statement of Claim

Please write as briefly as possible the facts of your case. Describe how each Defendant is involved. Include the
name of all persons involved, give dates and places.

Number each claim separately. Use as much space as you need. You are not limited to the papers we give you.
Attach extra sheets that deal with your statement claim immediately behind this piece of paper.

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Case: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 4 of 13 PAGEID #: 73

IV. Previous lawsuits:

If you have been a Plaintiff in a lawsuit, for each lawsuit state the case number and caption.
(Example, Case Number: 2:08-cv-728 and Caption: John Smith vs. Jane Doe).

 

 

 

 

 

Case Number Caption
Ne “ VS.
NMC VS.
KM Co VS.
V. Relief

In this section please state (write) briefly exactly what you want the court to do for you. Make no legal
argument, cite no case or statutes.

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I state under penalty of perjury that the foregoing is true and correct. Executed on

this 4 day of Fe hk yak 7 20,2/.

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Signature of Plaintiff
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I @) PLAINTIFFS (7h Hie thred G7 BBE
HOTS PIS

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF

‘ASES)

(c) Attorneys (Firm Name, Address, and Telephone Number) :

ONE

 
  

NOTE:
THE TRACT

Attorneys (if Known)

 

DEFENDANTS Noa WZKen) As why

r County of Residence of First Listed Defendant #t
(IN US. PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION CASES, USE THE LOCATION OF

OF LAND INVOLVED.

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II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

C1 O:

U.S. Government
Plaintiff

C 2 U.S. Government
Defendant

4

Federal Question
(U.S. Government Not a Party)

Diversity
(Indicate Citizenship of Parties in Item III)

 

IV. NATURE OF SUIT (Place an “¥" in One Box Only)

Foreign Country

Click here for: Nature of

and One Box for Defendant)
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III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "x" in One Box for Plaintiff
(For Diversity Cases Only)
TF DEF
Citizen of This State C 1 Incorporated or Principal Place
of Business In This State
Citizen of Another State CO 2 C7 2 Incorporated and Principal Place
of Business In Another State
Citizen or Subject of a []3 [1] 3 Foreign Nation

[] 6

 

Suit Code Descriptions.
OTHER STATUTES ]

 

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740 Railway Labor Act
751 Family and Medical

862 Black Lung (923)

850 Securities/Commodities/
Exchange

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability C 367 Health Care/ |] 400 State Reapportionment
LC] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS. 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |__| 430 Banks and Banking
~ 151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability | 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle - 370 Other Fraud | _|710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
CL] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal | _]720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV

 

 

Leave Act

 

 

790 Other Labor Litigation

 

 

[_] 290 All Other Real Property

 

445 Amer. w/Disabilities -

446 Amer. w/Disabilities -

448 Education

196 Franchise Injury [_] 385 Property Damage ~
362 Personal Injury - Product Liability
Medical Malpractice
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS

|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus:
[| 220 Foreclosure 441 Voting | 463 Alien Detainee
ae Rent Lease & Ejectment 442 Employment 10 Motions to Vacate

240 Torts to Land 443 Housing/ j Sentence

245 Tort Product Liability Accommodations |_| 530 General

|_| 535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

Employment

Other

 

 

|_|791 Employee Retirement
Income Security Act

864 SSID Title XVI
|} 865 RSI (405(g))

863 DIWC/DIWW (405(g)) |__

890 Other Statutory Actions

 

FEDERAL TAX SUITS

 

 

IMMIGRATION

870 Taxes (U.S. Plaintiff
or Defendant)

[_] 871 IRS—Third Party

26 USC 7609

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

|_| 891 Agricultural Acts
|] 893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
H 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X" in One Box Only)

Original
Proceeding

a

VI. CAUSE OF ACTION

 

2 Removed from
State Court

Remanded from
Appellate Court

C3

C4 Reinstated or oO 5 Transferred from
Another District

(specify)

Cite the U.S. Civil Statute ee yau are } (Do not cite jyrisdictidnal statutes unless diversity):
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Brief description of cause: -,- . Jt / es ;
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VIL REQUESTED IN CHECK IF THIS 1S A CLASS ACTION DEMANDS 4 A” MEX[ZON CHECK YES only if demanded in complaint:
COMPLAINT: © UNDER RULE 23. F.R.Cv.P. beKeuedh FALLS JURYDEMAND: ___L1Yes BZNo
VIII. RELATED CASE(S) ~ = :
IF ANY (See instrnenensy” DG E DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD \
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
JS 44 Reverse (Rev,]0/20)

ase: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 9 of 13 PAGEID #: 78
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

1.(a)

(b)

(c)

I.

IV.

Vi.

VII.

VI.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked,

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
statute.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action, Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases. insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
 

 

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us e: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 10 of 13 PAGEID# 79

“Bepiartinesd of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See "Instructions for Service of Process by US. Marshal"

 

 

 

 

   

 

 

See tustruetions for Service of Proves by US Marshal”
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ADDRESS (Street or RFD, Apartment No., City, State and ZIP Ch de),

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Number of process to be

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Number of parties to be

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(Sign only for USM 285 if more

than one USM 285 is submitted) No. | No. |

 

 

 

 

 

| hereby certify and return that} _] have personally served , CJ have legal evidence of service, _! have executed as shown m "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , Company, corporation, etc. shown at the address inserted below

 

C 1 hereby certify and return that | am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

 

 

 

 

 

 

 

Name and ttle of individual served (if nor shown above) [1 A person of suitable age and discretion
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including endeavors) a (Amount of Retin - )
REMARKS: - EE OE
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- “=== 2. USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT®*: To be retumed to the U.S, Marshal with payment, Form USM-285
if any amount is owed. Please remit promptly payable to U.S. Marshal. Rev. 12/15/80

$. ACKNOWLEDGMENT OF RECEIPT Automated 01/00
Case: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 11 of 13 PAGEID #: 80

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
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MK Diktick GrbB5
Plaintiff(s)
V. Civil Action Na} es /- CY -COO TS
MIKG~ SK B
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efendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: oe
Signature of Clerk or Deputy Clerk
Case: 1:21-cv-00075-MRB-SKB Doc #: 8 Filed: 02/19/21 Page: 12 of 13 PAGEID #: 81
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, if any) MR DELREER cS 7 sf 7 = 4 a
was received by me on (date) w= Le Z / oe

Oh personally served the summons on the individual at (place) OPEL, VE BE ey Ly rs pr)!
ers Hiwekien Lowy Shige 5 On (detE RS — 21) 2. ai

DB
a I left the summons at the individual’s residence or usual ste of abode with (name) yy NWMWAGKE sf

As Lu Af. a T= | bf STi@ (ES. LENE of a person of suitable age and discretion who resides there,
on (date) tS. f- “at f_ , and mailed a copy to the individual’s last known address; or

@ I served the summons on (name of individual) OLE ER Seg Majeed who is

designated by law to accept service of process on ae of (name of organization) taf Ley tpl} My
on (date). = FA zs te i

a? UbTzak: 3 Cenytth JAZZ

I returned the summons unexecuted because

 

CO Other (specify):

My fees are $ 0 _ for travel and $ OQ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.
\ ff
ge

Date; Vl ee Seles bee LI tA

Server's s Slpnature

Wb Sjpekheer ” C pee ES

Paes name aa title
LO LL

) Lian ine, — totes tanfey
20 bey "bh, 850 KT Gg, Kosten pt
erver § Address PBI O-LLy

Additional information regarding attempted service, etc:
TL KE fe: DPEKLOPAP IED |

THAT CG)
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